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               IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                              STATE OF MISSOURI


RICHARD SADDLER                       )
                                      )              Cause No. 4:19-cv-01646-HEA
               Plaintiff,             )
                                      )
V.                                    )
                                      )
CARVANA, LLC                          )
                                      )
               Defendant.             )


                PLAINTIFF'S MOTION TO REMAND FOR LACK OF SUBJECT MATTER
       JURISDICTION AND MEMORANDUM OF POINTS AND IN SUPPORT THEREOF



Plaintiff, Richard Saddler (Saddler) hereby moves this Court, pursuant to 28 U.S.C. § 1447(c),
for an order remanding this case to the Twenty-First Judicial Circuit Court of the State of
Missouri. In support thereof He states the following:



                                          BACKGROUND

       This case is an action arising from a fraudulent sale of an automobile sold by Carvana
Holdings LLC (Defendant) to Mr. Richard Saddler (Plaintiff). On the 21 st day of September 2018
the Defendant fraudulently sold the Plaintiff for the second time a used car. Mr. Saddler agreed
to obtain an emission inspection and provide the results to Carvana in order to receive the
certificate of title so he may obtain proper Missouri registration. Mr. Saddler obtained the
emissions inspection as requested and submitted it to Carvana. Carvana refused to accept the
passing emissions inspection report. Mr. Saddler offered to have Carvana refund the license and
registration fee which was added to his loan, including any associated fees and or interest
expense and he would obtain the titling and registration himself. Again Carvana refused. Shortly
after Carvana sent Mr. Saddler an email threatening to take his car, (see exhibit A), that states in
part if you don't contact us by "April 29,2019" "we may have to retake it". Therefore, as of
today, pursuant to §301.210 RSMO & §407.025 RSMO, Carvana is in violation of Missouri state
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law of which this action is rested upon. Due to Carvana's fraudulent activity and to protect his
interest in the subject automobile. Mr. Saddler filed suit against Carvana on May 13, 2019 in St.
Louis County Circuit Court. In addition he filed for a TRO on May 15, 2019 and was given the
TRO by the Duty Judge on the 16th of May 2019. In the following hearing the presiding Judge
determined that the Defendant wasn't given proper notice. The presiding Judge therefore set a
hearing for the TRO on June 18, 2019 letting the prior TRO expire.




                                 SUMMARY OF ARGUMENT


        This court lacks removal jurisdiction because the complaint brings only state law claims
for unlawful merchandising practices, under §407 .020 and sale and transfer of a vehicle statue
§301.210 of the Missouri Revised Statutes.


                                              FACTS



    1. Defendants maintain a website in which they offer and solicit the selling of used
automobiles and the auto financing in Missouri to Missouri consumers.
   2. Defendants have at all times relevant, regularly engaged in soliciting, selling, and
Financing auto loans to Missouri consumers in varying amounts from approximately $10,000 to
$85,000.
   3.   Loans made by the Defendants are payable in monthly installments, with interest rates
that exceed 19%.
                                     BURDEN OF PROOF


        On a motion to remand, the removing party has the burden of proving that removal was
proper and the federal court has jurisdiction. State ex rel. Webster v. Best Buy Co., Inc., 715 F.
Supp. 1455, 1456 (E.D. Mo. 1989). To meet this burden, a defendant must overcome a "strong
presumption" against removal. Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992).
"Removal statutes are strictly construed, and any doubts about the propriety of removal are
resolved in favor of state court jurisdiction and remand." Arnold v. First Greensboro Home
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Equity Inc., 327 F.Supp.2d 1022, 1025 (E.D.Mo. 2004); See also Transit Cas. Co. v. Certain
Underwriters at Lloyd's of London, 119 F .3d 619, 625 (8th Cir.1997). There is a presumption in
favor of remand. City of University City v. AT&T Wireless Services, Inc., et al., 229
F.Supp.2d 927, 933 (E.D. MO, 2002). Further, any doubts about the propriety of removal are
resolved in favor of state court jurisdiction and remand. State of Mo. ex rel. Webster v. Freedom
Financial Corp. 727 F.Supp. 1313, 1315 (W.D.Mo., 1989) citing Shamrock Oil and Gas Corp. v.
Sheets, 313 U.S. 100 (1941). The removing party bears the burden of showing that all
prerequisites to jurisdiction are satisfied. Dorsey v. Sekisui America Corp., 79 F.Supp.2d 1089
(E.D. Mo. 1999).
                                         Legal Standard

       "A Rule 12(b)(l) motion challenges the federal court's subject matter jurisdiction over a
cause of action." Knox v. St. Louis City Sch. Dist., 2018 U.S. Dist. LEXIS 209123, at *2 (E.D.
Mo. Dec. 12, 2018) "Federal courts are courts of limitedjurisdiction." Kokkonen v. Guardian
Life Ins. Co. of America, 511 U.S. 375, 377 (1994). "Generally speaking, a federal
court's subject-matter jurisdiction over a case must be based on either [a] federal question ... or
diversity." Miller v. Clark, 2013 U.S. Dist. LEXIS 196713, at *l (W.D. Mo. June 14, 2013). The
party asserting federal jurisdiction has the burden to prove the federal court has the power to hear
the case. Suppes v. Katti, 2016 U.S. Dist. LEXIS 143705, at *3 (W.D. Mo. Oct. 18, 2016). As
discussed below, both federal question and diversity jurisdiction are lacking in this case.


   A. Diversity Jurisdiction

       Diversity jurisdiction exists "where the matter in controversy exceeds the sum or value of
$75,000 ... and is between ... citizens of different States." 28 U.S.C. § 1332(a)(l). If any
plaintiff is a citizen of the same state as any defendant, diversity jurisdiction does not
exist. Simpson v. Thomure, 484 F.3d 1081, 1083 (8th Cir. 2007). "In order to be a citizen of a
State within the meaning of the diversity statute, a natural person must both be a citizen of the
United States and be domiciled within the State." Newman-Green, Inc. v. Alfonzo-Larrain, 490
U.S. 826,828 (1989).


B. Federal Question Jurisdiction
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         "Federal-question jurisdiction exists when the plaintiffs right to relief necessarily
depends on the resolution of a substantial question of federal law." Biscanin v. Merrill Lynch &
Co., 407 F.3d 905, 906 (8th Cir. 2005) (internal quotation marks and citation omitted).When
considering a Rule 12(b)(l) motion to dismiss, a movant seeking dismissal may assert either a
facial or factual attack on subject matter jurisdiction. Moss v. United States, 895 F.3d 1091,
1097 (8th Cir. 2018).
A facial attack looks only to the face of the pleadings, but a factual attack may
consider matters outside the pleadings. Knox,        2018 U.S.       Dist. LEXIS 209123, at *3
(citing Croyle by and through Croyle v. United States, 908 F.3d 377,380 (8th Cir. 2018)). Under
a facial attack, the movant "asserts that the [complaint] fails to allege sufficient facts to
support subject matter jurisdiction." Davis v. Anthony, Inc., 886 F.3d 674, 679 (8th Cir. 2018)
(internal quotation marks and citation omitted). When considering a facial attack, the court
restricts itself to the face of the pleadings, and the nonmovant receives the same protections as it
would defending against a Rule l 2(b)(6) motion. Id. "Therefore, a court considering a facial
attack    on   the   court's subject   matter   jurisdiction must:    (1)   evaluate   whether   the
asserted jurisdiction basis is patently meritless by looking to the face of the [pleading] . . . and
drawing all reasonable inferences in favor of the pleader, and (2) presume all of the factual
allegations concerning jurisdiction are ... true." Knox, 2018 U.S. Dist. LEXIS 209123, at *3-4
(internal quotation marks and internal citations omitted). "The l 2(b)(1) motion presenting a
facial challenge to the court's subject matter jurisdiction is successful if the [pleader] fails to
allege an element necessary for subject matter jurisdiction." Id. (internal quotation marks
omitted).
                                            Discussion

A. Diversity Jurisdiction

         Plaintiffs argue remanding is proper because the Court does not have subject-matter
jurisdiction. See 28 U.S.C. § 1332(a)(l) ("[t]he district courts shall have original jurisdiction of
all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive
of interests and costs, and is between citizens of different States"). The amount in controversy
does not exceed $75,000 due to the fact that the total amount including finance charges is
approximately $26,489.02. The email in which Mr. Saddler sent with the interrogatories request
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(see Exhibit Bl & B2) included an offer that was discussed during a private settlement
conversation with Defense Council Mr. Thomas McFarland on May 24, 2019 in circuit court
where as Mr. Saddler was told a settlement offer had to be emailed. In addition Defense Council
McFarland was negotiating and hadn't been admitted (pro hac vice). Therefor all of the
negotiations including my email (see Exhibit Bl) would be tainted and inadmissible. As support
to the facts stated here in see Mr. McFarland reference the earlier negation conversation
       (see Exhibits C). In closing, due to the unscrupulous behavior of the defense council, it
is clear they never intended on a settlement but tried to figure out a way to trick Mr. Saddler to
move from State Court to Federal Court. Plaintiff request this case be remanded.


                                           ARGUMENT


I. Complaint is Well-Pleaded and Does Not Create a Federal Question
       Removal based on a federal question jurisdiction is governed by the "well-pleaded-
complaint-rule," which states that a federal question is present only if it is presented on the face
of the plaintiff's properly pleaded complaint," Caterpillar Inc. v. Williams, 482 U.S. 386, 392
(1987), unaided by defendant's answer or removal notice. Thermalcraft, Inc. v. U.S. Sprint
Communications Co., 779 F.Supp. 1039 (W.D. Mo. 1991). This rule makes the plaintiff the
master of the claim, thus the plaintiff may avoid federal court by pleading only state law claims.
Caterpillar, 482 U.S. at 392. Here, when looking solely at the well pleaded complaint, there is no
federal question at issue. The complaint presents no federal question on its face. The complaint
alleges solely that Defendant in this case has sold automobiles illegally on multiple occasion to
Plaintiff in violation of Missouri law. This claim requires only the interpretation of Missouri
laws. There is no Federal Law that supports the Plaintiffs claim. This case in part is distinguished
from Grable (cited in Defendants' Notice of Removal, ECF Doc. 1, 110) in that Grable required
the interpretation of federal tax law, whereas in this case there need not be any interpretation of a
federal consumer law. Grable & Sons Metal Prods., Inc. v. Darue Eng'g and Mfg,, 545 U.S. 308
(2005). A federal question exists only where "federal question is presented on the face of the
plaintiff's properly pleaded complaint," Caterpillar, U.S. at 386, and thus here, no federal
question exists. The well-pleaded complaint rule provides that a case may not be removed to
federal court on the basis of a federal defense, including the defense of preemption, even if the
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defense is anticipated in the plaintiffs complaint. Lyons v. Philip Morris Inc., 225 F.3d 909, 912
(8th Cir. 2000). However, this rule is inapplicable if it is evident that Congress has intended for
federal law to completely supplant state law. Id.; Noel v. Laclede Gas Co., 612 F.Supp.2d 1061
(E.D. Mo. 2009). The Supreme Court has found complete preemption in only three instances:
certain cases under the Labor Management Relations Act, the Employee Retirement Income
Security Act, and the National Bank Act. See Beneficial Nat'l Bank v. Anderson, 539 U.S. 1, 6-
11 (2003). Here, defendants fail to make this claim. Their Notice nowhere cites a federal statute
in which Congress "wholly displace[d]" the State's state-law causes of action and in which it
provided "procedures and remedies governing that cause of action." Beneficial, 539 U.S. at 8.
This, alone, should compel remand.
       The Plaintiff's recitation of the forum and choice oflaw selection clauses in the
complaint are included as allegations in the complaint merely to provide the factual support to
show that Defendant uses these provisions to deceive Plaintiff and other Missouri consumers
and violate public policy.
        It would also be unreasonable to apply these clauses upon Missouri consumers. On public
policy grounds, Missouri has a strong interest in allowing its residents the protection of its
consumer protection laws. Allowing a waiver of these protections would be against public
policy. "Having enacted paternalistic legislation designed to protect those that could not
otherwise protect themselves, the Missouri legislature would not want the protections of Chapter
407 to be waived by those deemed in need of protection." Huch v. Charter Communications,
Inc., 290 S.W.3d 721, 725-26 (Mo. bane 2009). Like here, in Huch, the plaintiffs brought a claim
under Chapter 407, the Merchandising Practices Act, and the court refused to apply the forum
selection clause, stating:
        The Missouri statutes in question, relating to merchandising and trade practices, are
obviously a declaration of state policy and are matters of Missouri's substantive law. To allow
these laws to be ignored by waiver or by contract, adhesive or otherwise, renders the statutes
useless and meaningless. Id. at 726.


        Because this court does not have subject matter jurisdiction over this case Plaintiff
requests that the court remand this action to the Twenty-First Judicial Circuit and award the
Plaintiff costs and fees, together with all such further relief as the Court deems just.
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                                           Respectfully
                                           submitted,

                                                  Richard Saddler
                                                  Pro Se Plaintiff
                                                  413 Genoa Dr.
                                                  Manchester, MO. 63021
                                                  richardsaddler@yahoo.com
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                                      Certificate of Service

       On this 18th day of June, 2019, a copy of the attached Motion was hand delivered to the

defense council and to the Clerk of Court, to the following addresses respectfully:

       William A. Brasher, #30155MO
       Allison E. Lee, #61626MO
       Boyle Brasher LLC
       1010 Market Street, Suite 950
       St. Louis, MO 63101
       P: 314-621-7700
       F: 314-621-1088
       wbrasher@boylebrahser.com
       alec@boylebrasher.com
6/17/2019                                                                        & Registration
            Case: 4:19-cv-01646-HEA Doc.Yahoo Mail - Final
                                          #: 24      Filed:Notice: Carvana TitlePage:
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     Final Notice: Carvana Title & Registration

     From: Registration (registration@carvana.com)

     To:     ricksaddler@yahoo.com

     Date: Wednesday, April 24, 2019, 08:33 AM CDT



    April 24, 2019




     Richard Saddler
    413 Genoa Dr
     Manchester, Missouri 63021




    RE: Title and Registration




    Dear Juan Jazmin,


    We have attempted several times to contact you by phone, text and email regarding the title and registration of the
    vehicle you purchased from Carvana. Additional items are required to process your registration and it's important
    that we hear from you within 5 days of the date on this letter. If we have not received the items requested or
    contact from you by the below-mentioned expiration date, you will have to return the vehicle or we may have to
    retake it.


    Expiration: 4/29/2019

    We believe we can work together to resolve any issue(s) you may be having. Please contact our Post Sale Operations
    team at 844-507-3599 at your earliest convenience.


    Sincerely,
    Carvana Title and Registration
    registration@carvana.com




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6/17/2019                                    richardsaddler@yahoo.com - Yahoo Mail
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                              Find messages, documents, photos or people                        V                                                    Hore,



                                                                                                                     PLAINTIFF'S FIRS


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                                  PLAINTIFF'S FIRST REQUEST FOR INTERROGATORIES                                       Yahoo/Sent

                                  DIRECTED TO DEFENDANT 2

                                            Richard Saddler <richardsaddler@yahoo.com>
                                            To: wbrasher@boylebrasher.com
                                                                                                        -
                                                                                                        ,:I      Jun 2 at 9:49 PM



    Sent                          My offer is as follows: Carvana sends me my title unencumbered and waive my loan with
                                  Bridgecrest at Carvana's expense. Lastly $500,000 punitive damages awarded to Plaintiff. This
                                  offer expires June 7, 2019.

                                  Richard T. Saddler
                                  richardsaddler@yahoo.com




                                                                                                                                        >
                                  PLAINTIFF'S.... pdf
                                  622.6kB




                                   From       Richard Saddler <richardsaddler@yahoo.com>   v



                              V   To        e    wbrasher@boylebrasher.com                                                CC I BCC




                                   Richard T. Saddler
                                   richardsaddler@yahoo.com




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https://mail.yahoo.com/d/folders/2/messages/124942                                                                                                           1/1
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               IN THE CffiCUIT COURT OF THE COUNTY OF ST. LOUIS
                               STATE OF MISSOURI


RICHARD SADDLER                       )
                                      )              Cause No. 19SL-CC01864
               Plaintiff,             )
                                      )
V.                                    )
                                      )
CARVANA, LLC                          )               Division: 12
                                      )
               Defendant,             )


      PLAINTIFF'S FIRST REQUEST FOR INTERROGATORIES DIRECTED TO
                              DEFENDANT

Comes now plaintiff, and in accordance with the Missouri Rules of Civil Procedure, exhibits the
following interrogatories, to be answered by defendant under oath and in accordance with the
statutes in such cases made and provided. Each interrogatory is to be answered fully and
separately.

                                          DEFINITIONS

A. With respect to all questions, all information is to be divulged which is within the knowledge,
possession or control of the corporation or company to whom these Interrogatories are addressed,
as well as the corporation or company's attorneys, investigators, agents, employees or other
representatives.

If you cannot answer the following Interrogatories in full after exercising due diligence to secure
the full information to do so, so state and answer to the extent possible, specifying your inability
to answer the remainder, stating whatever information or knowledge you have concerning the
unanswered portion and detailing what you did in attempting to secure the unknown information.

B. "Defendant" or "You" or "Your company'' includes the named Defendant.

C. "Predecessors" as used herein means any corporation, company, joint venture, partnership,
sole proprietorship or other entity which Defendant has ever acquired through purchase,
reorganization or merger.

D. "Related companies" as used herein means any corporation, company, partnership, joint
venture or other entity which at any time owned more than a 10% interest in Defendant. "Related
companies" also means any company, corporation, partnership, joint venture or other entity in
which Defendant at any time owned more than a 10% interest.

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E. "Document" includes, without limitation, books, records, writings, notes, letters,
correspondence with whomever, memoranda and recordings in possession or control of
Defendant or Defendant's attorneys, investigators, agents, or employees. Such reference to
documents includes originals and copies, microfilms and transcripts made, recorded, produced or
reproduced by any means and every means. "Document" also includes the content of any
applicable computer database.

F. Where used with respect to documents, "identify" means to give the date, title, origin, author
and addressee (where appropriate) to enable Plaintiffs to retrieve it from a file; and, further,
"identify" means to give the name, address, position or title of the person who has custody of the
document. Whenever identification is requested and Defendant is willing to produce the
documents voluntarily for inspection and copying without the necessity of Plaintiffs' filing a
motion to produce, Defendant may respond by stating when and where the document may be
inspected, or by attaching a copy of the requested document to the answers to these
Interrogatories.



INTERROGATORY NO.I: As to the person(s) answering these Interrogatories, state:

   a.   Name;
   b.   Title or position with Defendant;
   c.   Business address;
   d.   Length of time employed by Defendant;
   e.   State year by year all other positions, titles or jobs you have held with the Defendant;
   f.   The years during which Defendant has been licensed to do business within the State of
        Missouri.

ANSWER:




INTERROGATORY NO. 2: Has the person answering these Interrogatories made reasonable
inquiry of all available sources of information such that Plaintiffs may rely on these answers as
the truthful and complete answers made on behalf of this answering Defendant?

ANSWER:


INTERROGATORY NO. 3: State the proper legal name and the present address of the principal
place of business of each of Defendant's related companies and/or affiliates. For each related
company identified, please state:
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   a. Whether or not the company is licensed to do business in the State of Missouri;
   b. The business relationship between the company and Defendant;
   c. The nature of the products or services that Defendant sells to or purchases from the
      company;
   d. The type of business the company conducts within the State of Missouri;
   e. Whether or not the company advertises Defendant's products or services within the State
      of Missouri;
   £ Whether or not the company sells Defendant's products or services within the State of
      Missouri; and, if so, the approximate value of those sales or services during 2013 to
      present;
   g. Whether or not the company pays any type of taxes to the State of Missouri or any
      political body located within the State of Missouri;
   h. Whether or not Defendant has any control, directly or indirectly, over the company's
      advertising of Defendant's products or services.

ANSWER:




INTERROGATORY NO. 4: State the following concerning this Defendant:
   a. Full and correct name:
   b. Principal place of business:
   c. State of incorporation:
   d. Date of incorporation, and name of corporation;
   e. Is this Defendant authorized to transact business in the State of Missouri? If so, state the
      date such authority was first issued and last renewed:
   £ Does this Defendant have an agent, representative, or place of business in Missouri? If
      so, state the name and address of such agent, representative or other place of business;
   g. Does this Defendant have an agent for service in the State of Missouri?
   h. If so, state the name and address of the registered agent.

ANSWER:
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INTERROGATORY NO. 5: In this litigation, has this Defendant been sued under its correct
name?
      If not, state the correct legal name of the Defendant and provide the information
      requested in No. 4 above concerning the Defendant as correctly named.

ANSWER:




INTERROGATORY NO. 6: Has this Defendant ever acquired through purchase, reorganization
or merger another corporation, company, or business and/or has this Defendant spun off from a
parent company which sells used automobiles?
ANSWER:




INTERROGATORY NO.7: If the answer to Interrogatory No. 6 is "Yes", then state the
following concerning such predecessor:
   a.   Full and correct name;
   b.   The principal place of business;
   c.   State of incorporation;
   d.   Date of acquisition by Defendant;
   e.   Date of spin off or divestiture from parent company;
   f.   Was this business authorized to transact business in the State of Michigan?
   g.   Attach copies of all papers pertaining to the acquisition.

ANSWER:
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INTERROGATORY NO. 8: List all current directors and officers of Defendant, and for each
state the following:
   a. Present position and date(s) position has been held; and
   b. All prior positions with Defendant and date(s) held.
ANSWER:




INTERROGATORY NO. 9: Describe in detail Defendant's complete corporate/business history,
including, but not limited to, date(s) of incorporation, and any and all mergers, consolidations,
re-incorporations, predecessors, subsidiaries, prior names, name changes, asset purchases,
acquisitions or spin-offs.
ANSWER:




INTERROGATORY NO. 10: What is the name, address, and the job title of each individual who
participated in the decision to implement the Defendant's delivery process?
ANSWER:




INTERROGATORY NO. 11: Do any written memoranda, advertisements or other written
materials of any kind or character relating to the implementation of the delivery process prior to
September 21, 2018 exist?

ANSWER:


INTERROGATORY NO. 12: lfso, please state:
   a. List each written material or document:
   b. Who presently has possession of each such document;
   c. Where is it located?
ANSWER:
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REQUEST FOR PRODUCTION OF DOCUMENTS #1: Please attach a copy of each
document(s) set forth in Answer 12a.


INTERROGATORY NO. 13: Do any written memoranda, advertisements or other written
materials of any kind or character relating to the delivery process prior to September 21, 2018
exist?
ANSWER:


INTERROGATORY NO. 14: If so, please state:

   a. List each written material or document:
   b. Who presently has possession of each such document;
   c. Where is it located?
ANSWER:




REQUEST FOR PRODUCTION OF DOCUMENTS #2: Please attach a copy of each document
set forth in Answer 14a.

INTERROGATORY NO. 15: Is Defendant, as of the date of answering these Interrogatories,
still operating under the same delivery process as mentioned in answer 14a or has the delivery
process since changed?
ANSWER:


INTERROGATORY NO. 16: If the delivery process has changed please state:
   a. List each material or document with regarding to the change of process;
   b. The date the change went into effect;
   c. The reason for the change;
ANSWER:




REQUEST FOR PRODUCTION OF DOCUMENTS #3: Please attach a copy of each document
set forth in Answer 16a.
.,
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     INTERROGATORY NO. 17: Was it a foreseeable at the time of the delivery of Mr. Saddler's
     car that the Defendant's delivery process was in violation of Missouri state law?

     ANSWER:




     INTERROGATORY NO. 18: Are you aware of any statement made by plaintiff regarding all
     occurrences mentioned in the petition, whether oral, written or recorded in any way, including,
     but not limited to, a stenographic, mechanical, electrical, audio, video, motion picture,
     photograph, or other recording, or transcription thereof, and, if so, state the following:

        a. Date, place, and time taken;
        b. Name and addresses of all persons connected with taking it;
        c. Names and addresses of all persons present at the time it was taken;
        d. Whether the statement was oral, written, shorthand, recorded, taped, etc.;
        e. Was it signed?
        f. Names and addresses of the persons or organizations under whose direction and upon
           whose behalf it was taken or made;
        g. Please attach an exact copy of the original of the statement, interview, report, film, or
           tape to your answers to these interrogatories; if oral; please state verbatim the contents
           thereof.

     ANSWER:
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 INTERROGATORY NO. 19: List and identify:

    a. Each person this defendant expects to call as an expert witness at trial, stating for each
       such expert:
           i.   Name:
          11.   Address;
         iii.   Occupation
         1v.    Place of Employment
          v.    Qualifications to give an opinion (if such information is available on an expert's
                curriculum vitae you may attach a copy thereof in lieu of answering this
                interrogatory subpart);
    b. With respect to each expert listed, please state the subject matter on which the expert is
       expected to testify and the expert's hourly deposition fee.
    c. Identify each non-retained expert witness, including a party, who the plaintiff expects to
       call at trial who may provide expert witness opinion testimony by providing the expert's
       name, address and field of expertise. State also any opinions the expert will testify to at
       trial.
 ANSWER:




INTERROGATORY NO. 20: With regard to the vehicle which was sold to the plaintiff, please
list the following:
   a.  From whom was the vehicle purchased? Include name, address and telephone number.
   b.  For how much was the vehicle purchased?
   c.  Nature of the transaction: for example, was it financed or was it a cash deal?
   d.  Please attach all the documentation pertaining to the acquisition of the subject vehicle.
       Attach the deal and/or transaction file.
    e. List all representations to this defendant received from the seller of the vehicle upon
       acquisition.
    f. What was the odometer reading when the vehicle was acquired by this defendant?
    g. List all representations this defendant made to the plaintiff or the subsequent purchaser of
       the car. To whom were they made and when?
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INTERROGATORY NO. 25: In conjunction with the sale of the vehicle from the defendant to
the plaintiff, please list any representations which were made from this defendant to the plaintiff.
Please include the following:

    a. Date, time and place of representation.
    b. Plaintiff's response to defendants' representations.
    c. Reason for making representations.

ANSWER:




INTERROGATORY NO. 26: List all conversations between the plaintiff and the defendant
pertaining to the purchase of the vehicle. Please include the following:

   a.   Exact statement as indicated by the plaintiff.
   b.   Reason for statement.
   c.   Date, time and place of statement.
   d.   Any witnesses to the statement.

ANSWER:




INTERROGATORY NO. 27: Has this defendant ever been convicted of a crime?

ANSWER:




INTERROGATORY NO. 28: Has this defendant ever been subject to any lawsuit either civil or
otherwise in the past five (5) years? If so, please set forth the nature and extent of the allegations
as well as the ultimate outcome.

ANSWER:
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INTERROGATORY NO. 29: Did the vehicle that the plaintiff purchased/acquired from the
defendant have any damage that this defendant was aware of? If so, please explain what damage
existed.
ANSWER:




INTERROGATORY NO. 30: Had this defendant or anyone else, including prior owners,
damage the subject vehicle before this defendant sold the car to the plaintiff?
ANSWER:




INTERROGATORY NO. 31: Was there damage, which the subject vehicle sustained, which
was not discovered by this defendant upon inspection? If the answer is yes, please explain why
the damage was not discovered upon your inspection.
ANSWER:




INTERROGATORY NO. 32: List everything this defendant did to insure that all representations
made to the plaintiff(s) were accurate and truthful?
ANSWER:
INTERROGATORY NO. 33: If this defendant did nothing to assure its representations were
accurate, please set forth the reasons supporting your answer.

ANSWER:




INTERROGATORY NO. 34: List all facts supporting your defense that you did not commit an
act of Consumer Fraud.
ANSWER:
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INTERROGATORY NO. 35: List every document that is contained in the deal jacket. If any
documents that should be in the deal jacket are not there, explain why the document(s) are
missing.
ANSWER:




INTERROGATORY NO. 36: List all facts you intend to rely upon at the time of trial.
ANSWER:




INTERROGATORY NO. 37: List all of the defendant's employees who have knowledge of any
facts in this case. Describe the extent of their knowledge.
ANSWER:




INTERROGATORY NO. 38: Has the state of Missouri issued Carvana a waiver and or
indemnities of any kind that would allow Carvana to bypass issuing a certificate of title at the
time of delivery? If so, please provide a copy of said waivers or indemnities.
ANSWER:




Respectively Submitted,
/RS/

Richard Saddler
Pro Se Plaintiff
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Certificate of Service

On this 2nd day of June 2019 this Certificate of Service was submitted to defendant: PLAINTIFF'S FIRST
REQUEST FOR INTERROGATORIES DIRECTED TO DEFENDANT, CARVANA. It was delivered by Email to The
defendant's attorney, William Brasher of Boyle Brasher Law firm and filled with the Clerk of Court, St.
Louis County on 3rd day of June 2019
wbrasher@boylebrasher.com




Richard Saddler
6/17/2019
            Case: 4:19-cv-01646-HEA Doc. #: 24 Yahoo Mail - Saddler v. Carvana
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     Saddler v. Carvana

     From: Thomas McFarland (TMcFarland@gsrm.com)

    To:      richardsaddler@yahoo.com

     Cc:     alee@boylebrasher.com; wbrasher@boylebrasher.com; tnoble@gsrm.com

     Date: Monday, June 17, 2019, 04:28 PM CDT



    Mr. Saddler,



    I write to renew the proposal made during the May hearing on your request for a TRO, regarding the original emissions
    report. As before, if you provide a current, original emissions report, Carvana stands ready to register and title the
    vehicle in Missouri. Thanks, and we look forward to seeing you tomorrow.



    Regards,



    Thomas McFarland

    Gullett Sanford Robinson & Martin PLLC

    150 Third Avenue South I Suite 1700 I Nashville, TN 37201

    Phone 1615.921.4214 Fax I 615.256.6339

    tmcfarland@gfil!!!.:£Q!!l I gsrm.com



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   h. Did this defendant perform an inspection on the vehicle upon acquisition or at any time?
      If so, please set forth the nature and extent of the inspection as well as attaching any
      documentation pertaining to the inspection of the vehicle.

ANSWER:




INTERROGATORY NO. 21: During these defendants' term of ownership, please list all
mechanical work or bodywork which was done to the vehicle. Please set forth the following:

   a.   Reasons for the work?
   b.   The exact date( s) on which the work was done.
   c.   Who performed the work?
   d.   What amount of money was paid to the individual{s), if any, who performed the work?
   e.   The reason for the work being performed?

ANSWER:
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INTERROGATORY NO. 22: During the term of this defendants' ownership, please list any and
all repair facilities, garages or individuals who inspected, performed any alterations, or
performed any mechanical or body work on the vehicle.
ANSWER:




INTERROGATORY NO. 23: During these defendants' term of ownership, please list any and all
official State Inspections or any other inspections for any reason which was done on the subject
vehicle. Please set forth the following:
   a.   Date of the inspection.
   b.   Place of inspection.
   c.   Reason for inspection.
   d.   Result of inspection.
   e.   List each part of the car inspected and why.
   f.   Please attach any paperwork and/or documentation confirming that the vehicle was
        inspected.
ANSWER:




INTERROGATORY NO. 24: Did this defendant advertise the subject vehicle in any newspaper
and/or publication? If so, please set forth the following:
   a.   Date advertised.
   b.   Exact content of advertisement.
   c.   Reason for running advertisement.
   d.   Name and address of periodical running advertisement.

ANSWER:
